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____________________________________________________________________________
                                                SO ORDERED,




                                                Judge Jason D. Woodard
                                                United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________



              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                 CHAPTER 13 CASE NO.:

MICHAEL W. MONAGHAN, JR.                                          16-10941-JDW

                            FINAL ORDER OF DISMISSAL

       THIS MATTER came before the Court upon the Debtor’s failure to comply

with Agreed Order Denying Motion to Dismiss (Dkt. #65) (Dkt. #76), and the Court

being advised that the Debtor has become more than sixty (60) days delinquent in

Chapter 13 plan payments.

       IT IS THEREFORE ORDERED that this case shall be and is hereby

dismissed.

                                  ##END OF ORDER##

SUBMITTED BY:

/s/ Melanie T. Vardaman
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